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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF RHODE ISLAND

UNITED STATES OF AMERICA )
)
VS. ) CR 13-030 M
)
PATRICK CUNNINGHAM )

DEFENDANT’S SENTENCING MEMORANDUM
Patrick Cunningharn, through counsel, submits this Sentencing Memorandum in support
of a sentence of three years of probation With the condition that he continue to cooperate with
drug treatment and counseling aimed at combatting steroid dependence Defendant respectfully
avers that said sentence reflects the nature and circumstances of his criminal culpability
considering his background and is “suffrcient, but not greater than necessary” to serve the

purposes of sentencing set forth at 18 U.S.C. § 3553(a)(2).

THE FACTS - PART ONE

The facts in this matter Were set out by the prosecution at the time of the plea. That
recitation of facts is contained in the presentence investigation report. The defendant has no
dispute With the facts presented. As part of this memorandum the defendant has authored a
statement of acceptance of responsibility in the form of a letter addressed to this Honorable
Court. (See Defendant’s Exhibit A) There is no question that on November 15, 2011 agents
from the Drug Enforcement Administration executed a court-authorized search Warrant at the

home of the Defendant in Cranston, Rhode Island. At that time law enforcement officers seized

 

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a variety of anabolic steroids and a substantial number of items related to the manufacture and
distribution of steroids. For the agents involved the seizures in question were the culmination of
a narcotics investigation that represented a substantial step in destroying an international criminal

conspiracy to distribute anabolic steroids. F or Mr. Cunningham the arrest brought an end to a

twenty-year run of significant steroid abuse.

DEFENDANT’ S BACKGROUND

The specifics of Mr. Cunningham’s life are accurately set out in the pre-sentence report.
At first blush it could be fairly described as typical. His life has not been free of the challenges
and setbacks We all face but, on the whole, he enjoyed a decent upbringing and has lead a life
defined by hard Work and a comfortable middle-class existence Mr. Cunningham dropped out
of high school and his parents spilt up but he has overcome that youthful error in judgment and
acquired numerous jobs and occupations and, barring injury, has maintained a consistent work
history. His Wife describes him as a hard Worker who does not easily anger (PSR jj 29) and a
good person Who got himself into a bad situation. It is noteworthy that Mr. Cunningham rarely
drinks alcohol and has never abused any of the so-called “recreational” drugs which often lead
people into personal, financial and legal difficulties

As the PSR accurately points out, nearly twenty years ago Mr. Cunningham began a daily
regimen of weight lifting That regimen gradually lead to his regular use of anabolic steroids.
Ultimately that use lead Mr. Cunningham to develop a significant addition to anabolic steroids.

Since the time of the execution of the search warrant in this matter Mr. Cunningham has

availed himself of counseling services through Quality Behavioral Health in Warwick, RI. To

 

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further aid this Court in its assessment of Mr. Cunningham this memorandum includes a report
of Joyce Heimbecker, Licensed Medical Health Counselor (LMHC), Licensed Chemical
Dependency Professional (LCDP). (See Defendant’s Exhibit B) In that report Ms. Heimbecker
confirms that Mr. Cunningham has been involved in counseling to overcome his addition since

November of 2011 and he is “motivated to improve his life and stay free from steroid abuse in

the iiiture.”

THE FACTS ~ PART TWO

The defendant has pleaded guilty to Conspiracy to Distribute Steroids and Possession of
misbranded drugs. As the PSR notes Mr. Cunningham was not part of the management of the
operation. Mr. Cunningham makes his living as a laborer and it is the position of the defense in
this matter that, although he is certainly guilty of committing the crimes charged, he served as
the labor in this criminal enterprise. As he points out in his letter of acceptance of responsibility,
his sole motivation for getting involved in this enterprise was to acquire steroids for himself He
did not make any money for his efforts. ln fact, as he informed the agents involved, his
participation ended up costing him money.

The leader of this criminal conspiracy has previously been sentenced by this Court. ln
that matter this Court heard facts which indicated that the distribution in this conspiracy involved
steroid users going onto various Internet “boards” to order and acquire steroids. Mr.
Cunningham had nothing whatsoever to do with that aspect of the operation. Mr. Cunningham
made trips to Western Union and the post office on behalf of others and was involved in

packaging materials. His payment came in the form of steroids for his own use. The defense

 

 

 

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respectfully suggests that his involvement in terms of planning and executing the scheme to

distribute steroids was minimal.

F rom the moment agents arrived at his home in November of 2011 Mr. Cunningham has
been completely cooperative with the police. He freely provided law enforcement the passwords
to his phone and computers Ultimately, as part of his qualification for the safety valve
provisions in the sentencing guidelines, Mr. Cunningham, provided law enforcement With a

complete account of all of his activities involving steroids. At that time he showed genuine

remorse for his criminal acts.

THE ADVISORY GUIDELINES AND THE APPROPRIATE SENTENCE

Mr. Cunningham now stands before this Court convicted of Conspiracy to Distribute
Steroids and Distribution of a Misbranded Drug. Mr. Cunningham was convicted in 2007 of
possession of steroids as a result of an arrest that occurred in 2005. Beyond that Mr.
Cunningham has no criminal history. His offence level is 15 , Which yields a guideline
sentencing range of 18 to 24 months.

This Court is Well aware that the United States Sentencing Guidelines are advisory, not
mandatory. United States v. Booker, 542 U.S. 220, 245 (2005). A federal judge may sentence
Within a Wide range, based on the facts and law applicable to the particular case. Gall v. United

States, 128 S.Ct. 586, 602 (2007), Kimbrough v. United States, 128 S.Ct. 558, 570 (2007). A
Rita v. United States 127

 

sentencing report may not presume that the guideline range is correct.

S.Ct. 2456, 2465 (2007). Simply put, since Booker Was decided, “district judges are empowered

with considerable discretion in sentencing[.]” United States v. Taylor, 532 F.3d 68, 69 (1St Cir.

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2008). While the guidelines serve as a starting point in sentencing proceedings, the district Court
must consider a variety of factors to fashion an appropriate sentence. Gall, 128 U.S. S.Ct. at 5 96.

Those factors, as set out in 18 U.S.C. § 3553(a)(2), include:

(1) the nature and circumstances of the offense and the history and characteristics
of the defendant;

(2) the need for the sentence imposed--
(A) to reflect the seriousness of the offense, to promote respect for the
law, and to provide just punishment for the offense;
(B) to afford adequate deterrence to criminal conduct;
(C) to protect the public from further crimes of the defendant; and
(D) to provide the defendant with needed educational or vocational
training, medical care, or other correctional treatment in the most
effective manner;
(3) the kinds of sentences available;
(4) the kinds of sentence and the sentencing range established . . .;

(5) any pertinent [Sentencing Commission] policy statement . . .;

(6) the need to avoid unwarranted sentence disparities among defendants with
similar records who have been found guilty of similar conduct; and

(7) the need to provide restitution to any victims of the offense.

After considering all of the above-enumerated factors, that court must impose a
sentence that is “sufficient but not greater than necessary” to accomplish that purposes of

sentencing

In this matter the Court is faced with sentencing an individual who participated in
a criminal conspiracy to distribute steroids for the sole purpose of acquiring'them for his
own use. That use, and abuse, of steroids has been the focus of his life for the better part

of two decades. Since the time he first learned of the law enforcement investigation into

 

 

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his activities he has completely stopped using steroids and has successfully sought out
and participated in counseling to deal with his addiction He has completely changed his
life both in terms of his lifestyle and the company he keeps. He has worked steadily and
is currently involved in training for a new trade in the auto body industry.

Patrick Cunningham will shortly stand before this Court to be sentenced for his
criminal misdeeds. At that time this Court will need to balance the nature and
circumstances of the offense and the history and characteristics of the defendant to
determine an appropriate sentence Although the Court’s sentencing calculation must
begin with reference to the guidelines, the guidelines are not presumed by the Court to
suggest a reasonable sentence ML "‘As far as the law is concemed, the judge could
disregard the Guidelines . . .” Id at 533. In this matter, as the Court considers Mr.

o Cunningham’s history and background the defense respectfully suggests that there is
absolutely no rational basis to support the notion that this case calls from a sentence that
includes any term of incarceration Mr. Cunningham played a relatively small role in this
conspiracy. He cooperated fully With law enforcement and has, on his own, used the
motivation of his arrest to completely turn his life around. This matter has been pending
for twenty months, during which Mr. Cunningham has remained free During that time
he has lived as an exemplary member of society. Mr. Cunningham poses absolutely no
threat to society or his community. He is a prime candidate for rehabilitation That
rehabilitation is best evidenced by the fact that it has already begun.

The defendant respectfully suggests that a three-year term of probation with the

condition that he continue with substance abuse counseling is sufficient to meet the ends

 

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of justice in this case.

Respectfully submitted,
PATRICK CUNNINGHAM

By:
LYNCH & PINE, Attorneys At Law

 

 

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CERTIFICATION

I hereby certify that I electronically filed and caused to be delivered a true copy of the within
Sentencing Memorandum by electronic transmission to the Office of Assistant United States

Attorney Richard Myrus, on the 25th day of July, 2013.

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1 EXHIBIT

 

 

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The Honorable John J. McConnell, Jr.
United States District Judge

Federal Building and Courthouse
One Exchange Terrace

Providence, R| 02903

Re: United States v. Patrick Cunninqham, CR 13-030 lVl

Dear Justice |VlcConne|l:

 

lVly name is Patrick Cunningham and within the coming days l will be
before you to be sentenced for my part in a steroid distribution operation that was
shutdown by the police in November of 201 1. l am absolutely guilty of the crimes
to which l have pleaded and l accept full responsibility for my actions. l broke the
law and l am ready to face whatever consequences you think are appropriate

|’d like to try to explain myself to you and the circumstances surrounding
the events that have brought me before the Court. l do not offer any excuses for
my actions but l do want to give you an idea of the type of person l am so you
can judge me fairly.

l have been lifting weighs nearly every day for the better part of the last
twenty years. Over that period l’ve also been using steroids on and off as part of
my workout routine. Other than that, l lead a very normal life. l don’t drink; l
don’t use so-called “recreational” drugs and other than a prior issue with steroids
l’ve never been arrested l don’t get into fights, l don’t talk bad about people, and
l go out of my way to avoid trouble lt’s not easy to talk about myself like this but
l’m easy to get along with and am well liked by my friends and family.

l participated in this operation for the sole purpose ofacquiring steroids for
myself. As l told the police, l didn’t make any money helping out with this
operation, in fact it ended up costing me money. After l was arrested l was
completely cooperative with the police. l gave them all the passwords to my
phone and computers and l ended up giving them a complete account of all of
my actions. l want you to know that l was only involved in helping other adult
body builders like myself get steroids. l do not say that to excuse my behavior
but to let you know l did not do these things recklessly.

Looking fon/vard l’m really planning to put this unfortunate situation behind
me. l’ve changed everything about my life since the police raided my home in
November of2011. l’ve completely stopped using steroids, l’ve changed all of
my workout partners and gotten completely away from anyone who is still in the
life that l used to lead. l’m at a new gym where nobody knows me, which is for
the best. l’ve started a significant career change and a new trade. For the first

 

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time in my life l’ve joined a church and l have been attending regularly for the
past eight months.

l consider myself to be a positive member of society and my community
with the one exception being my troubles with steroids. The events surrounding
my arrest have resulted in change for me. l’ll give credit to the system for some
of that change but, to be honest, l think c hange was coming for me either way. l
am too old to continue on the path that has lead me here. l\/ly body is breaking
down and l can’t deal with the injuries and physical challenges my lifestyle brings
any longer. l’ll always keep in shape and workout but the steroid fueled life l was
leading is over.

 

l nank you ror your attention to my case. l m very sorry tor wnat l nave
done but l have truly learned valuable lessons and l’m hoping you’ll allow me to
move forward with my life.

 

 

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Quality Behavioral Health, lnc.

    

Nlanagement Services

rely 23, 2013

 

 

Honorable John J.McConnell, Jr.
U.S. District Judge

Federal Building and Courthouse
One Exchangc Ten'ace
Providence, RI 02903

Re: Patrick Cunningham
DOB:11/18/1968

Dear Judge McCormell:

This letter is to inform you that Patrick Cunningham has been in counseling with me at
Quality Behavioral Health since November, 2011.

He has been diagnosed with an adjustment disorder and an addiction to anabolic steroids.
He has worked on developing healthy coping skills and freeing himself from the frequent
use of steroids to enhance his athletic performance and body image

Currently, Mr. Cunningth is motivated to improve his life and to stay free from steroid
use in the future He will remain in treatment to support his desire to lead a healthy life
despite physical, financial, and psychosocial stressors.

Please feel free to contact me if you have further questions

Sincere]y, W

Joyce LaFazia Heimbecker, LMHC, LCDP

75 Lambert Llncl Highway * Suite 120 ° Warwick, Rhode leland 02886 - Tel: (401) “681-4274 Fax: (401) 681-4285
www.thmedicalservices.com

 

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To whom it may concern,

Patrick Cunningham has been working along side me as an intern @ 44
Auto Concepts in Johnston learning the autobody repair trade.
He has been nothing short of an assetl He came to my shop a year ago knowing
less than bare basics and has proven to show a sincere interests
Most responsibilities | haven't entrusted to anyone l entrust to him. So much so,
he's allowed me to take ;a much needed vacation. He's always a pleasure to be
around and never hear complaining from him. Most importantly he keeps my
customers happy. Hes a mild tempured man and l cant say enough good things

about him.

 

 

 

 

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. Repair& Collision Facility Specialist
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